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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES − GENERAL

CASE NO.: 2:21−cv−01409−VAP−SK                                   DATE: July 15, 2021

TITLE:          BackGrid USA, Inc. v. Casandra Ventura

Present: The Honorable: VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE
                Christine Chung                                  Not Reported
                 Deputy Clerk                                    Court Reporter
ATTORNEYS PRESENT FOR PLAINTIFFS:              ATTORNEYS PRESENT FOR DEFENDANTS:

                  Not Present                                 Not Present

Proceedings:       ORDER TO SHOW CAUSE RE DISMISSAL FOR LACK OF
                      PROSECUTION (IN CHAMBERS)

    Plaintiff(s) is hereby ordered to show cause in writing not later than August 12, 2021
why this action should not be dismissed for lack of prosecution.
    The Court will consider the filing of the following, as an appropriate response to this
OSC, on or before the above date:
           - Plaintiff's filing of a noticed motion for entry of default judgment
      In accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15,
no oral argument on this Order to Show Cause will be heard unless ordered by the court. The
Order will stand submitted upon the filing of the response to the Order to Show Cause. Failure
to timely respond to the Court's Order may result in the dismissal of the action.




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                                                                      Initials of Preparer cch


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